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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

  HERB SOUZA, on behalf of himself         CIVIL NO. 1:20-cv-00158-LEK-RT
  and all others similarly situated,
                                           PLAINTIFF’S SCHEDULING
              Plaintiff,                   CONFERENCE STATEMENT

        v.

  HAWAIIAN ISLES KONA COFFEE
  COMPANY, LTD.,

              Defendant.
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         PLAINTIFF’S SCHEDULING CONFERENCE STATEMENT

       Plaintiff HERB SOUZA, on behalf of himself and all others similarly

 situated, (“Plaintiff”), by and through his counsel, submits this scheduling

 conference statement pursuant to LR 16.2(b) in advance of the October 29, 2020

 Scheduling Conference as follows:

 a. Statement Of The Nature Of The Case

       On April 14, 2020, Andrew Chung, on behalf of himself and all others

 similarly situated, filed the Class Action Complaint [Dkt. No. 1] initiating the

 above-captioned action—a class action lawsuit concerning the labeling of Kona

 coffee products.

       On June 8, 2020, the First Amended Class Action Complaint [Dkt. No. 11]

 (the “FAC”) was filed. The FAC substituted Herb Souza in place of Andrew

 Chung as the named Plaintiff.

       Defendant packaged, advertised, marketed, distributed, and sold coffee to

 consumers via retail stores throughout the United States based on the

 misrepresentation that the coffee is grown in, and originates from, the Kona region

 of the Big Island of Hawaii (“Kona”). Defendant did this by, among other things,

 prominently placing the word “Kona” on the packaging of the coffee and by stating

 and implying that the coffee was grown in Kona. The falsely advertised coffee

 products at issue in this action include, but are not limited to, Defendant’s “Kona


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 Classic,” “Kona Sunrise,” “Kona Hazelnut,” and “Kona Vanilla Macadamia Nut”

 coffee products (hereinafter, referred to as the “Kona Labeled Coffee Products” or

 “Products”). However, contrary to these representations, the Kona Labeled Coffee

 Products actually are made with commodity coffee beans grown in various less-

 desirable locations around the world.

       Kona coffee generally sells for a significant premium over non-Kona coffee.

 Plaintiff and other consumers purchased Defendant’s Kona Labeled Coffee

 Products because they reasonably believed, based on Defendant’s packaging and

 advertising that the Products are grown in the Kona. Had Plaintiff and other

 consumers known that the Kona Labeled Coffee Products were not grown in Kona,

 they would not have purchased the Products or would have paid significantly less

 for them. As a result, Plaintiff and other consumers have been deceived and have

 suffered economic injury.

       In the FAC, Plaintiff seeks compensatory, statutory and punitive damages,

 restitution and injunctive relief for violation of California’s Consumer Legal

 Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq., violation of California’s

 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.,

 violation of California’s False Advertising Law (“FAL”), for common law fraud,

 negligent misrepresentation, unjust enrichment, breach of implied warranty of

 merchantability, and breach of express warranty.


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       Plaintiff seeks to represent a class defined as all persons in the United States

 who purchased the Products (the “Class”). Excluded from the Class are persons

 who made such purchases for purpose of resale. Plaintiff also seeks to represent a

 subclass of all Class members who purchased the Products in California (the

 “California Subclass”). Excluded from the California Subclass are persons who

 made such purchases for purpose of resale.

 b. Statement Of Jurisdiction And Venue

       This Court has personal jurisdiction over Defendant. Defendant is

 incorporated and has its principal place of business in Hawaii.

       This Court has original subject-matter jurisdiction over this proposed class

 action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class

 Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of

 the federal courts in any class action in which at least 100 members are in the

 proposed plaintiff class, any member of the plaintiff class is a citizen of a State

 different from any defendant, and the matter in controversy exceeds the sum of

 $5,000,000.00, exclusive of interest and costs. Plaintiff alleges that the total claims

 of individual members of the proposed Class (as defined herein) are well in excess

 of $5,000,000.00 in the aggregate, exclusive of interest and costs.

       Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts

 in furtherance of the alleged improper conduct, including the dissemination of false


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 and misleading information and omissions regarding the Kona Labeled Coffee

 Products, occurred within this District.

 c. Whether A Jury Trial Has Been Demanded

       Plaintiff has demanded a jury trial.

 d. Appropriateness, Extent, And Timing Of Disclosures Pursuant To Fed. R.
    Civ. P. 26 And 26.1 That Are Not Covered By Report Filed Pursuant To
    Fed. R. Civ. P. 26(f)

       The parties are currently in settlement negotiations and have agreed to

 postpone exchanging initial disclosures at this time, but are amenable to

 exchanging initial disclosures within thirty days after the Court rules on the

 pending Motion to Dismiss.

 e. Discovery And Pending Motions And Hearing Dates

       a. Scope Of Discovery

       If the case does not settle and proceeds past the pleading stage, Plaintiff

 intends to seek written and deposition discovery regarding, among other things:

          1. Defendant’s policies and practices regarding preparing, selling and

              marketing its Kona Labeled Coffee Products;

          2. Defendant’s sales data during the Class Period, including how many

              Kona Labeled Coffee Products were sold;

          3. Defendant’s ingredients for its Kona Labeled Coffee Products;

          4. Defendant’s employee training policies and procedures; and


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          5. Defendant’s advertising and marketing plans regarding its Kona

              Labeled Coffee Products.


       b. Limitations/Modifications

       Plaintiff does not propose any changes to the discovery limitations set forth

 in the Federal Rules of Civil Procedure at this time.

       c. E-Discovery

       Plaintiff will produce documents in PDF format.

       d. Identified Discovery Disputes

       The parties have not yet engaged in discovery and do not currently anticipate

 any discovery disputes.

       e. Pending Motions

       Defendant has filed a motion to dismiss. Judge Kobayashi has set a Status

 Conference for October 30, 2020 regarding the motion to dismiss.

 f. Appropriateness Of Special Procedures Or Other Matters

       The parties are currently in settlement negotiations, and, thus, Plaintiff does

 not believe that any special procedures are appropriate at this time.




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 g. Related Cases (Including Pending And Terminated Cases)

       A class action lawsuit, filed on February 27, 2019, on behalf of growers of

 Kona coffee against Defendant and other coffee sellers is pending in the United

 States District Court for the Western District of Washington. That case is entitled

 Corker v. Costco Wholesale Corp. et al., Case No. 2:19-cv-00290. Though there is

 overlap between the cases, they seek certification of different classes.

       On March 1, 2019, a class action complaint was filed in the United States

 District for the Western District of Washington, Case No. 2:19-cv-00305, on behalf

 of a class of consumers against Defendant and other coffee sellers seeking relief for

 the same misconduct alleged in the present case (the “Bond Case”). The Bond Case

 was voluntarily dismissed by the Plaintiffs.

       On March 5, 2019, a class action complaint was filed in the United States

 District for the Central District of California, Case No. 8:19-cv-00432, on behalf of

 a class of consumers against Defendant seeking relief for the same misconduct

 alleged in the present case (the “DeArmey Case”).          The DeArmey Case was

 voluntarily dismissed by the Plaintiff.




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 h. Additional Matters

       The parties have discussed alternative dispute resolution options and are

 currently in settlement negotiations.

 DATED: October 22, 2020                 BERVAR & JONES


                                         By:     /s/ Birney B. Bervar
                                                 Birney B. Bervar

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                                         (*Pro Hac Vice motion forthcoming)

                                         Counsel for Plaintiff Herb Souza




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           PLAINTIFF’S SCHEDULING CONFERENCE STATEMENT
